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                                        Index to Response:

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Part G: Conclusion to response and motions:


    Quick Note before you begin: As you know, I lost respect for this court long ago once it
       became clear you were not only complicit, but aiding in the corruption and cover ups
  surrounding this case. So, I treat my motions like I would a middle school paper… I write the
  assignment, but I also ramble on and occasionally repeat things whenever I see fit and only
lightly read over it once I drafted it, but still, I accomplished the assignment I laid out for myself.
  This is no college paper, but I do lay out the facts and argue the positions I believe should be
                                                   argued.

As I nearly always point out, if you find this disrespectful, then you MUST find the government
knowingly lying in the past and even now to be far more disrespectful… I’ve seen you do
nothing to the lies and corruption and advance it non-stop, so, that’s why I still submit these
motions the way I write them… If you change, I’ll happily change them, and I’ll even be proud of
you for your growth and maturity, it’s well beyond time for it to come.

Anyhow, enjoy   🙂
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                                             Intro:


Before we begin, take note of the parties who signed their names to this declaration at
the bottom of their filing that requests for further restrictions to my freedom:


                          “I declare under penalty of perjury that the
                          foregoing is true and correct.”

You want to show this court is no longer corrupt? Do something about the
government AGAIN knowingly lying to this court in a malicious attempt to
further restrict my freedoms… Proving they knowingly lied is very easy here.
It’s below. Enjoy, and if justice is going to be advanced in your courtroom in a
blind manner, regardless of the party, I expect a perjury charge against the
government… Show you’re no longer corrupt please. Hold them in contempt and
charge them with perjury.


                                             Part A:
                          The first false government claim (Page 2):

“On or about June 5, 2024, in Washington D.C., Mr. Fellows did fail to follow the instructions of
the probation officer by traveling to Washington, D.C. without permission, in noncompliance of
his Standard Condition No. 13. Evidence in support of this charge includes video footage posted
  to the internet by Mr. Fellows, metadata retrieved from the video, and the testimony of
                                   the probation officer.”

Section 1: How they came to to this conclusion:

On June 5th, 2024, I posted this video online of me at the Capitol trolling the leftists and
making the conservatives laugh about how I was struggling in controlling my urge to not
go inside the Capitol (This time without permission from Capitol Police). (see below
images):
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Now, before I totally disprove this, I want to address the continued trend of the
government, knowingly lying and attempting to STILL use their lies to punish me…

They are continuing to do this because as I warned for years, when a crappy judge
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rewards them for their lies, why would they change?

I’ll AGAIN point out how they are knowingly lying, BUT, it’s useless to do so if you
won’t for once actually punish them for doing this…

As I typically have done when proving the government is knowingly lying, I’ll be
motioning for them to be held in contempt at the end of this response for knowingly
lying to this court and for wasting my time, the taxpayers money, and when you all
could be focusing on going after real criminals (rather than political prisoners the police
entrapped into believe they were allowed in (who also never gave a dispersal order).

Feel free to actually advance justice and hold them in contempt for this… It’s well
beyond time for you to do something reminiscent of justice in this case.


Section 2: How their claim is false:

     The video was not taken on June 5th 2024, it was taken May 23, 2024. It simply
     was posted on social media on June 5th…

Evidence for this:

  1) Here is me texting this same clip to my friend Mike on May 23 at 11:39 am:




  2) Here is where this file is located in my photos (note the 5/23/24 date)
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   3) Here is the file info from that video in my phone (Note the date and time match)




   4) As you can see from the video, it’s cloudy and lightly raining as I record… I’ll
      now show you how the weather from June 5th at this time doesn’t line up with the
      weather in this video…

4.1) & 4.2)
 June 5th precipitation (blue) time doesn’t line up with this time frame from my video.
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4.3) & 4.4)
May 23 precipitation (blue) time AND amount DOES line up with the times in my
recording.
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To close up this allegation, I want to show for the record how the government is
knowingly lying here, as they have done for years against me in continued (and often
successful) attempts to wrongfully take my freedom away from me.

Section 3: Evidence the government knew this claim was a lie:
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1) When the Probation office foolishly jumped to the conclusion that my social
   media post/ video of me being at the Capitol was filmed that very day, they
   accused me of breaking the selective and arbitrary rule to not be in DC (which
   was only applied due to fake news they still peddle of me being removed from the
   Fauchi hearing and the Capitol Building on June 4th 2024, more on this later).

   I informed them that as shocking as it is, the technology I have access to allows
   me to post videos I’ve recorded at prior dates AND post them whenever I see fit.
   They couldn’t (and clearly still don’t) believe it! Regardless, I sent them proof as
   shown here:

   1.1) & 1.2)
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So, when they brought this up, I immediately sent them proof that the video I posted was not
taken on June 5th… I was then informed that I was not being accused of breaking the arbitrary
and selective order to not be in DC (Even though I was told I had to live in the DC area, an area
I’m not from).

It is telling that 23 days later, within an hour of the Supreme Court coming out and sharing that
my only Felony conviction is not applicable, the only reason I’m legally able to be placed on
probation, the Probation office files this claim they KNOW to be false as grounds for more
conditions of release…
They know it’s only a matter of time until they lose control of me, and rather than relax on their
political persecution, they begin to freak out and knowingly lie in an attempt to make my
remaining weeks on probation as annoying as possible… They waste taxpayer time and money
in asking for an immediate hearing for more conditions to be placed on me…

Why did they not mention anywhere in the documentation that they filed with this court that they
had closed this claim 21 days prior AND received proof that this was NOT taken on the 5th of
June?
They didn’t share it because the government keeps getting rewarded for these sort of corrupt
games by this equally corrupt court…

So, as I always do, I request you begin to advance justice in this case/ court and hold the lying
party responsible and show your court is deserving of respect (because although you act as if
it’s me who disrespect your court, I’m not the one who lies in your court). I may say things you
disagree with, but I am not the party who advances lies in your court… The government has
time and again been shown to lie and this court does nothing to them, showing that it is not to
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be respected… Yet I still show up, patient and hoping that eventually, this court will begin to
respect itself, and the law… Let's see if this time is any different.

                                      Part B:
The second false government claim (Page 2):



 “On or about June 9, 2024, in Washington, D.C. Mr. Fellows failed to follow the instructions
 of his officer by traveling to Washington, D.C. without prior approval. Evidence in support
 of this charge includes the testimony of the probation officer.”



 Section 1: How this is false:

I was verbally told I could attend all religious related activities (even in DC), and I had been
given permission not just on Sundays to go into DC for church related activities, but had gone
in on other days as well. (See below, Part E, number 6 for proof from government themselves)

On June 9th, I attended my church as usual in DC. On that day, the church AC was down, and it
was very hot… Water was provided, but food was not. Prior to heading out of DC on my
bicycle, I planned to tie over my hunger for the bike ride out of DC with a simple banana at the
711 right next to my church (not even a full 30 seconds of a walk from the church) … As I was
getting this banana, I witnessed 2 black individuals brazenly grab a bunch of items inside the
711 and laugh at the store owner (who was begging for them not to steal) as they left. Once I
paid for my banana, I decided to follow the 2 individuals with the police on the phone on this
very busy street, and the police DID NOT arrest the individuals…

Real crimes go unpunished in DC, and the good citizens suffer because the courts are too
focused on targeting people for their political beliefs rather than addressing the problems that
are hurting everyday citizens…

As required for my continued political persecution, I followed my requirement to share all police
contact with my PO and shared the situation within minutes of my allotted 72 hour time frame.
Evidence shown here:
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1.1)




The response AGAIN seemed to jump to the conclusion that I was breaking the arbitrary rules
and just hanging out in DC, however, as shown in this next exhibit, I explained and reminded the
PO that I had been in DC to go to church, and explained that I simply wanted a banana after
attending church… I didn't go to a concert or anything, or even to a sit down dinner, I simply
walked under 30 seconds to the 711 next door and bought a banana to replenish my energy for
the bike ride I was about to take heading out of DC…

Exhibit shown here:

1.2)
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Following this, I was informed I was okay and that there was no issue…

So, as mentioned after addressing the last known lie from June 5th:

It is telling that 19 days later, within an hour of the Supreme Court coming out and sharing that
my only Felony conviction is not applicable, the only reason I’m legally able to be placed on
probation, the Probation office files this claim they KNOW to be false as grounds for more
conditions of release…
They know it’s only a matter of time until they lose control of me, and rather than relax on their
political persecution, they begin to freak out and knowingly lie in an attempt to make my
remaining weeks on probation as annoying as possible… They waste taxpayer time and money
in asking for an immediate hearing for more conditions to be placed on me…

Why did they not mention anywhere in the documentation that they filed with this court that they
had closed this claim 19 days prior?
They didn’t share it because the government keeps getting rewarded for these sort of corrupt
games by this equally corrupt court…
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                                     Part C:
Conclusion from Governments “Nature of Non-Compliance” section (page 2):

So, with these being the only 2 claims from the government in support of my non-compliance,
and these being shown to be knowingly false claims, this court should:

   1)  ignore their requests for increased conditions to my supervision
   2)  hold them in contempt for knowingly lying and for selectively and maliciously seeking to
      make my life more difficult
   3) Lower my conditions of release not just because of this malicious attempt to make my
      life more difficult, but due to the recent ruling from the Supreme Court in Fisher V. USA
      that indicates my felony is soon to be dropped (and as a result, the probation to be
      dropped as I only have misdemeanors and already served way more time than I
      should’ve served).

Before I address some more things from that motion the government/ Probation office filed, I
wish to address the other false thing the PO supervisor (Rhodes) has claimed was the
reasoning for the now moot order to not be in DC, the entire reason they even are complaining
about non-compliance…


                                         Part D:
Addressing why I was ridiculously told not to go to DC without permission (Now moot):

The PO Supervisor (Rhodes) falsely claims: I was physically removed from the Fauchi
hearing by police, and that I also had to be removed from the building…

The truth: I left on my own and was never kicked out of the hearing room, let alone the building.

Available evidence:

   1) A letter by Nicole Reffitt (which will be submitted via ECF or in person on day of court): a
      witness who was present at the hearing. She is the person who touched my knee and
      told me she was leaving (I came with her, so I was going to leave with her). I stood up
      not because I was told to leave, but because she was leaving.
   2) Testimony by Nicole Reffitt: Nicole will be present in the court on July 15th if the court
      wishes and finds it necessary to hear testimony in support of what I’ve shared here, and
      what she will have shared in her letter to the court.
   3) Testimony by me.
   4) A letter from Corrine Clifford (which will be submitted via ECF or in person on day of
      court): a witness who was present at the hearing and who began the false news of me
      being removed from the hearing (she later came to understand I was not removed).
   5) Testimony from Corrine Clifford
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Potential evidence that MAY be available for this:
   1) Testimony or a letter from witness Ivan Raicklen
   2) Testimony or a letter from witness Tamara Jackson
   3) Testimony or letters from other witnesses




Evidence this court could easily order to verify this:

   1) Camera footage of my departure from the building (we walked around on our own and
      explored where we wanted until we found the way out), not being escorted out by police.

Part E: Correcting or addressing other things from the governments request for modifications:

   1) “The stability of Mr. Fellows’ residence remains in question, and he is unemployed…”

Comments: It does not remain in question, they know where I live, they just take a long time to
process it in their system. I am employed in raising funds for myself and other non-profits, I have
raised about $21,000 over the past 2 weeks, all without an ID… I can make good money doing
what I’m doing, and it’s not the only thing I’m doing. I’m writing my book, and attempting to
build an online presence… This is not my long term life goal, but it’s what I’d like to do until
January of 2025.

   2) “He currently has no valid identification to obtain employment.”

Comments: True, but this has been an ongoing process that the probation office knows I have
been seeking to be remedied… My ID’s are not only not valid by year, but had to be updated to
an entirely new State/ District due to my being forced to live down here… Quite a task for
someone who was locked away for 3 years and whose belongings are an 8 hour drive away…
Still, I have been tackling it, and the process is ongoing.

   3) “His special assessment is unpaid…”

Comments: True, I am awaiting a few things. First, I was waiting for the Supreme Court to
throw away the felony, which just happened (so when my case is updated, I will not have to pay
2,000 dollars due to this felony). Second, I’m waiting for my own personal bank account to be
set up, which I need an ID for first. Third, I’m waiting to sign up for government assistance
programs (for the first time in my life) like food stamps (or literally anything that will help me
use the governments’ funds to pay off the remaining 170 dollars for the misdemeanors). I’ll feel
better about giving money towards the fines for being set up when the government is paying for
my food and literally anything else I sign up for them to legally pay/ assist me with… Afterall,
that would be messed up to have to pay for being set up by the police/ allowed into the capitol
and not have the government reimburse me in some way, you know? HAHA.


   4) “Fellows advised this (my attending the Fauchi Hearing) was deliberate and a way for
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       him to “go viral” and gain social media attention which generates a revenue stream for
       him through crowdfunding.”

Comments: This also is totally false, like many Americans and people in the World who
followed the actual science, I loathe Fauci and I wanted to see this piece of trash in person. I
wanted to hear him spew his lies in person. I had no idea I would be placed right behind him and
in front of the cameras… The probation office assumed this was my intention, but no, I simply
have spoken of how this event I did not plan (and could not plan due to unknown seating
arrangements) has since helped me raise money and gain a larger social media presence despite
not being social media savvy. I and others attended the hearing because we were interested in the
hearing as most Americans should be. It just so happened that I went viral and received money
from it, I did not plan nor expect this to happen.

   5) “He was instructed not to enter the District of Columbia and/or a federal building or
      grounds without first getting permission of the probation officer moving forward. On
      June 5, 2024, Mr. Fellows requested to attend a jail vigil at the D.C. Jail. Due to the
      ongoing threat assessment for Mr. Fellows, this request was denied. He requested to
      attend church on that date…”

Comments: Again, this was due to fake news regarding me being kicked out from not just the
hearing, but the building… I did nothing wrong in that hearing, I followed all the rules just like
on January 6th, and yet, just like that day, I’ve had my freedoms stripped from me for following
the rules the Capitol police laid out for me. I was informed we would be able to have 1 verbal
interruption and receive a warning, and upon a second one, we would be removed… I only gave
one verbal interruption on my voluntary way out. Here you all are again, attempting to take my
freedom away because I followed the rules of the Capitol Police… Absolutely ridiculous.

   6) “This officer approved him to attend religious services and reviewed that he was to go
      to church and return home afterward. He failed to follow these instructions and went to
      the United States Capitol to make a video for his social media accounts. When
      questioned about the video, Mr. Fellows insists he made the video prior to his officers’
      instructions.”

Comments: Note the bold and underlined words. I was approved to attend religious services, not
just on Sundays, but in general… I had gone into DC multiple times to do this, and to get back in
shape, I bike into and out of DC… This takes energy and in the summer time can lead to
dehydration… It’s ridiculous to expect me not to be able to replenish myself from such activities
in such extreme weather…

Additionally, as noted in previous parts of this response, the probation office only shares “I
insist” that the video was made prior to the officers instructions, failing to mention or show that I
provided proof for this via emails as shown in Part A of this response. Very disingenuous. It’s
clear to see the game they attempt to play with my freedom here, are you going to pretend you
don’t see it as you always do? Or will you be honest and take notice for once? Please surprise
me…
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Part F: Other quick arguments against the government's request for increased conditions of
release:

Since the government knowingly lied when citing the 2 examples of my alleged non-compliance
(and that it was only placed on me due to false information from a Congressional hearing I
attended), the modification requests from the government should be ignored. Instead, less
should be required of me considering that I was wrongfully imprisoned over the felony that the
Supreme Court finally just shared does not apply…

However, I’ll briefly comment on these requests from the government.

Government Requests:

         1. “You must not go to, or remain at, any place for the purpose of engaging in or
                causing disruption or social unrest.”

Comments: As I have done nothing wrong, this just seems to be a continuation of the
government's attempts to add conditions to me in hopes that they will eventually be able to
revoke me like they did (despite that they broke the BRA) in 2021…

 Additionally, this seems very vague, knowing how corrupt this court and government have been
in this case, it seems like it would be easily able to be twisted into one’s opinion of “finding that
[I] went with the purpose to cause a disruption or social unrest”. Much like how despite all
evidence and testimony from the FBI themselves, this court went against all evidence (even its
own previous words) and came to its own conclusion that I did delete evidence from my phone
(which as FBI tech themselves shared, I did not)… I’m not looking to play these games with
you anymore, you are not to be trusted…

With this condition added, if I show up to a protest, and I chant something a group disagrees
with, it could easily be twisted by this corrupt court as me breaking a court order… I’d prefer for
this court and the government to stop stomping on my first amendment rights… I’ll remind you
I was already denied church services for years thanks to all of you tyrants. Please remember/
re-read what the Declaration of Independence says must be done to Tyrants… Stop being
tyrants. Don’t advance this.

         2. “You must not enter Federal buildings or grounds without the permission of the
                probation officer.”

Comments: Again, you people forced me to come live in your crap-hole city/ swamp. If
I’m here, I’d like to be able to show up to hearings just like every other citizen does. I never
did anything that wasn’t allowed by police inside the Capitol, stop pretending as if I did just
because you had a kangaroo court trial that found me guilty… After all, look, the charges
are already falling apart (which adds even more merit to the words I shared about this court
that lead to contempt! Will you apologize for being wrong?)! A 20 year felony out the
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window… My maximum will go from 20 to 1, and I’ll be appealing those misdemeanors as
well. You know what kind of court tries to wrongfully add up to 19 more years to someone's
sentence? You already know…

         3. “You are not to enter The United States Capitol Building or onto surrounding
               grounds known as capital square and consisting of the square block bounded by
               Constitution Ave. N.W. and N.E. to First St. N.E. and S.E. to Independence
               Ave. S.E. and S.W. to First St. S.W. and N.W., comprising the property under
               any circumstances.”

Comments: I find it very rude of the Capitol police to invite me inside and give me directions
inside, and then the DOJ try to act as if this never happened with the court helping them do it
through suppression of evidence/ defenses with a bunch of biased “victim” jurors… It’s even
more rude to then not allow me to go to the Capitol… I did nothing wrong… This court and
those that aided in my wrongful imprisonment are the ones who have done the wrongs here.

         4. “Computer Search - You must submit your computers (as defined in 18 U.S.C. §
                1030(e)(1)) or other electronic communications or data storage devices or
                media, to a search. You must warn any other people who use these computers
                or devices capable of accessing the Internet that the devices may be subject to
                searches pursuant to this condition. A probation officer may conduct a search
                pursuant to this condition only when reasonable suspicion exists that there is a
                violation of a condition of supervision and that the computer or device
                contains evidence of this violation. Any search will be conducted at a
                reasonable time and in a reasonable manner.”

Comments: LOL. Did I do something to warrant computer/ electronic device searches? Nope.
Not on January 6th, and certainly not now.

5. “Location Monitoring - You will be monitored by the form of location monitoring
technology indicated herein for a period of 90 days, and you must follow the rules and
regulations of the location monitoring program. The cost of the program is waived. Location
monitoring technology at the discretion of the probation officer, including:

                Radio Frequency (RF) Monitoring; GPS Monitoring (including hybrid GPS);
                SmartLINK; or Voice Recognition This form of location monitoring technology
                will be used to monitor the following restriction on your movement in the
                community: You are restricted to your residence at all times except for
                employment; education; religious services; medical, substance abuse, or mental
                health treatment; attorney visits; court appearances; court-ordered obligations;
                or other activities as pre-approved by the officer (Home Detention).”



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Again, I did nothing wrong on the 6th, and did nothing wrong since then as a semi-free man…
You guys attempting to do this shows me and the American people just how tyrannical and
dangerous you all are… Here I am living in your crap-city 8 hours away from family and friends
who I was wrongfully kidnapped and imprisoned from seeing for over 3 years, and now as I’m
attempting to just exist and get on my feet, you guys are at it again, trying to place me on house
arrest in a place that is not mine… I was patient before when you guys did this, and you guys
still lied in order to get me in jail… Why would anyone allow it to happen twice? Do you guys
truly want reduced recidivism? Or do you want a real criminal, because wrongfully abusing
people for years on end and still not letting up is NOT how you create a functional member of
society… I was a business owner, and excelled in many areas prior to you all targeting me.
Focus on real criminals, and stop seeking ways to punish people you disagree with politically.

Seriously… In less than 30 days, I’ve raised money (for myself and others (including
non-profits)), gone to church, networked with media companies, staffers, non-profits, been
writing a book, and getting in shape… Despite all of your wrongful abuse and imprisonment
under unconstitutional conditions you knew of and allowed, within 30 days I had jumped back
into society and began thriving more than many who have been free in this city… It’s as if you
guys are upset that I’m doing well out here and rebuilding my life so fast… Let me rebuild my
life. If you guys start to stop my progress, I’ll again become a burden on the tax-payers inside
your system, I’m not going to do this partial freedom stuff… I’m not doing house arrest when
I’ve literally been killing it out here even with the tyrannical orders holding me down… I’m just
not doing it… So decide, do you want me to rebuild, or do want me back in prison like the
tyrants you are… Choose one, but remember, I’ve at a minimum served nearly 2 years of
wrongful imprisonment (and more will be proven upon a successful appeal of the
misdemeanors), I imagine I’ll just add that wrongful imprisonment to the bill.

If I have an ankle monitor wrongfully placed on me, I will REFUSE to work at any capacity… I
will not be interacting with any customers of any sort for any business with an ankle monitor
on… I just won’t… I tried that in 2021, it’s just not something I’’m going to do, so lock me up
like the tyrants you are if you even want to try that, because I’m not doing it, especially when
I’ve done nothing wrong and have been killing it out here despite not even having an ID or my
own bank account still (because the FBI shut down my bank account due to 1/6/21 set up).
Additionally, I will not work out with this on me, and that is bad for my health, so if your’re
going to try this, send to me to jail so I can go network with people and workout with them as
taxpayers pay for my housing and food, I’m not going to pay to be in a house 8 hours away from
my family, not allowed to leave or workout, as I have to pay for all my food… You guys can do
that. Thanks.


Part G: Conclusion to response and motions:

1) Motion: Stay of probation conditions OR less conditions of release

Brief Comments: The Supreme Court has just overthrown the only felony I was charged with in
Fisher V. USA. Just as judges at the District level realized it was proper to let people out of
prison prior to this, you too should understand once my case is updated, at the least I’ll have
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served 2 years in prison wrongfully, well beyond my misdemeanors and my probation for those
misdemeanors. I will be suing for not just wrongful imprisonment, but for suffering under
probation…
Additional reasons for this: The opinion by DC Circuit Judges Justin Walker and Judith Rogers
determined that January 6 rioter James Little couldn’t receive a sentence of prison followed by
probation for his misdemeanor charges. “Probation and imprisonment are alternative sentences
that cannot generally be combined,”

Like me, Little was found guilty of the same four low-level misdemeanors.. Judge Royce
Lamberth of the DC District Court had sentenced Little to 60 days in prison followed by three
years of probation.

In the DC Circuit ruling, the majority wrote that the “text and structure” of relevant federal
criminal code show “that probation and imprisonment may not be imposed as a single
sentence.” “They are separate options on the menu,”

Additionally, the conditions are not necessary and are only increasing the risk of recidivism. I am
rocking it out here. The probation office has so far only slowed down my growth and networking
opportunities (stopped me from attending all expense paid trip to Austin Texas and Nashville TN
from 2 separate companies), while increasing the chances of me being placed in prison…


2) For the government to be held in contempt for knowingly and maliciously lying to the court
and wasting taxpayer money/ all of our time.

Brief Comments: Evidence in support of this shown in previous parts of this response.

3) To be allowed back onto the Capitol Grounds and hearings of my choosing…


Okay, getting pretty tired now, I’m gonna wrap it up here… I’ve been killing it out here, and
despite that I shoud say “screw you guys, I’m going to go see my family and friends/ go back to
my hometown”, I’ve done my best to turn my cheek, and endure these tyranical and uncalled for
conditions of release… I’ve passed all drug tests, the evaluators see no reason to keep seeing
me as it’s clear I’m not an issue, they both have shared they don’t see any reason to keep
seeing me, I’m living in DC, I’ve made over $20,000 in less than 3 weeks, I’ve been working on
my book, peacefully practicing my 1st amendment rights while following police orders just like I
did on 1/6/21, I’ve reported all police contact, I’ve pursued getting an ID, I’m always responsive
to calls, texts, and emails from PO, I’ve given a speech at the World Peace Federation on prison
reforms that should be pursued, I’ve been calling my family often, I’ve been attending church
services and small groups, I’ve been making tons of friends out here, I’ve been working out,
eating healthy, fixing up my teeth from years of improper dental hygiene in the jails, and have
plans to restart my business whenever probation is over/ sometime in 2025…
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There is no reason for house arrest, and the current conditions have slowed down my
progress… I don’t need you or the government to help ensure I don’t go back to prison… You
are the ones responsible for why I was falsely imprisoned in the first place… Kindly, GO AFTER
REAL CRIMINALS… DC is a crap-hole in case you haven't noticed… Focus on fixing your
city… Thanks.

-Brandon Fellows/ Captain Massive-Insurrection,

Your favorite political prisoner.
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